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                                 UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION

  In re:                                         §     Case No. 17-32793
                                                 §
  WEBSTER RESTAURANTS, LTD.                      §
                                                 §
                                                 §
                      Debtor(s)                  §

            CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION REPORT
            CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                       AND APPLICATION TO BE DISCHARGED (TDR)

          Eva Engelhart, chapter 7 trustee, submits this Final Account, Certification that the
  Estate has been Fully Administered and Application to be Discharged.

       1)       All funds on hand have been distributed in accordance with the Trustee’s Final
Report and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee’s control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

       2)      A summary of assets abandoned, assets exempt, total distributions to claimants,
claims discharged without payment, and expenses of administration is provided below:



Assets Abandoned:             $10.00                  Assets Exempt:        NA
(without deducting any secured claims)



Total Distributions to                                Claims Discharged
Claimants:                        $389,277.51         Without Payment:      NA

Total Expenses of
Administration:                   $250,722.49


        3)      Total gross receipts of $640,000.00 (see Exhibit 1), minus funds paid to the
debtor(s) and third parties of $0.00 (see Exhibit 2), yielded net receipts of $640,000.00 from the
liquidation of the property of the estate, which was distributed as follows:




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                                   CLAIMS           CLAIMS             CLAIMS               CLAIMS
                                 SCHEDULED         ASSERTED           ALLOWED                PAID
  Secured Claims
  (from Exhibit 3)                      $0.00      $3,828,577.56        $358,995.56         $358,995.56
  Priority Claims:
      Chapter 7
      Admin. Fees and                     NA        $250,722.49         $250,722.49         $250,722.49
      Charges
       (from Exhibit 4)
      Prior Chapter
      Admin. Fees and                     NA               $0.00               $0.00               $0.00
      Charges (from
      Exhibit 5)
      Priority
      Unsecured                         $0.00          $1,554.71           $1,554.71          $1,554.71
      Claims
      (From Exhibit 6)
  General Unsecured
  Claims (from                          $0.00       $100,411.18           $60,172.23         $28,727.24
  Exhibit 7)
           Total
     Disbursements                      $0.00      $4,181,265.94        $671,444.99         $640,000.00

       4). This case was originally filed under chapter 11 on 05/01/2017. The case was
  converted to one under Chapter 7 on 11/18/2019. The case was pending for 21 months.

       5). All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

        6). An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9.

       Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

         Dated: 08/03/2021                              By: /s/ Eva Engelhart
                                                        /Ev Trustee
                                                        a
                                                        Eng
                                                        elha
                                                        rt

  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. § 1320.4(a)(2) applies.



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                                                 EXHIBITS TO
                                                FINAL ACCOUNT

 EXHIBIT 1 – GROSS RECEIPTS

                        DESCRIPTION                                      UNIFORM                         AMOUNT
                                                                        TRAN. CODE                      RECEIVED
Improvements-20237 Gulf Fwy, Webster Owner                                1110-000                       $428,000.00
Premises Lease with Webster Etc, L.L.C.                                   1222-000                       $212,000.00
TOTAL GROSS RECEIPTS                                                                                     $640,000.00

 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.

 EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES
 NONE


 EXHIBIT 3 – SECURED CLAIMS

 CLAIM           CLAIMANT          UNIFORM               CLAIMS              CLAIMS   CLAIMS               CLAIMS
NUMBER                            TRAN. CODE          SCHEDULED            ASSERTED ALLOWED                  PAID
     1        Harris County et       4110-000                   $0.00        $37,886.65         $0.00             $0.00
              al.
     3        Clear Creek            4110-000                   $0.00        $60,285.73         $0.00             $0.00
              Independent
              School District
     5        Webster Finance,       4110-000                   $0.00       $451,903.85         $0.00             $0.00
              LLC (D.
              Guggenheim)
     7        Royal American         4110-000                   $0.00        $35,000.00         $0.00             $0.00
              Services, Inc.
     8        Gibraltar Finance      4110-000                   $0.00     $1,950,000.00         $0.00             $0.00
              & Mortgage, Inc.
              (D. Felt)
     9        Webster Finance,       4110-000                   $0.00       $663,465.00         $0.00             $0.00
              LLC (D.
              Guggenheim)
     10       Webster Finance,       4110-000                   $0.00       $271,040.77         $0.00             $0.00
              LLC (D.
              Guggenheim)
              Harris County          4700-000                   $0.00       $307,759.56    $307,759.5    $307,759.56
              Taxing Authority                                                                      6
              Royal American         4120-000                   $0.00        $51,236.00    $51,236.00     $51,236.00
              Services, Inc.
TOTAL SECURED CLAIMS                                            $0.00     $3,828,577.56    $358,995.5    $358,995.56
                                                                                                    6


 EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

         PAYEE             UNIFORM               CLAIMS              CLAIMS            CLAIMS              CLAIMS
                          TRAN. CODE          SCHEDULED            ASSERTED          ALLOWED                 PAID


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Eva Engelhart,               2100-000            NA           $35,250.00        $35,250.00        $35,250.00
Trustee
Eva Engelhart,               2200-000            NA             $452.89           $452.89           $452.89
Trustee
International Sureties,      2300-000            NA              $67.00            $67.00            $67.00
Ltd.
Hope Kobayashi Trust         2410-000            NA       $125,387.00         $125,387.00        $125,387.00
Independent Bank             2600-000            NA            $1,569.77         $1,569.77         $1,569.77
Credit to buyer for tax      2820-000            NA           $32,000.00        $32,000.00        $32,000.00
consideration per
Order Entered 08-07-
20, Doc #178
Texas Comptroller            2820-000            NA            $5,353.00         $5,353.00         $5,353.00
U.S. Trustee Payment         2950-000            NA            $2,600.00         $2,600.00         $2,600.00
Center
Ross, Banks, May,            3110-000            NA           $25,552.50        $25,552.50        $25,552.50
Cron & Cavin, PC,
Attorney for Trustee
Ross, Banks, May,            3120-000            NA             $457.38           $457.38           $457.38
Cron & Cavin, PC,
Attorney for Trustee
William G. West,             3310-000            NA           $21,883.50        $21,883.50        $21,883.50
C.P.A., Accountant
for Trustee
William G. West,             3320-000            NA             $149.45           $149.45           $149.45
C.P.A., Accountant
for Trustee
TOTAL CHAPTER 7 ADMIN. FEES AND                  NA       $250,722.49         $250,722.49        $250,722.49
CHARGES


 EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES
 NONE


 EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

 CLAIM           CLAIMANT          UNIFORM         CLAIMS           CLAIMS          CLAIMS         CLAIMS
NUMBER                            TRAN. CODE    SCHEDULED         ASSERTED        ALLOWED            PAID
    2-3P      Internal Revenue      5800-000           $0.00        $1,554.71        $1,554.71     $1,554.71
              Service
TOTAL PRIORITY UNSECURED CLAIMS                        $0.00        $1,554.71        $1,554.71     $1,554.71


 EXHIBIT 7 – GENERAL UNSECURED CLAIMS

 CLAIM           CLAIMANT          UNIFORM        CLAIMS          CLAIMS           CLAIMS          CLAIMS
NUMBER                            TRAN. CODE   SCHEDULED        ASSERTED         ALLOWED             PAID
   2-3U       Internal Revenue      7100-000          $0.00      $16,636.41        $16,636.41      $7,942.50
              Service
     4        Doyle, Restrepo,      7100-000          $0.00      $43,535.82        $43,535.82     $20,784.74
              Harvin &
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              Robbins, L.L.P.
     6        Donald W.          7100-000    $0.00    $22,993.76        $0.00        $0.00
              Guggenheim
     11       Donald W.          7100-000    $0.00    $17,245.19        $0.00        $0.00
              Guggenheim
TOTAL GENERAL UNSECURED CLAIMS               $0.00   $100,411.18   $60,172.23   $28,727.24




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                                                                          INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                            Page No:    1              Exhibit 8
                                                                                           ASSET CASES

Case No.:                       17-32793-H1-7                                                                                                           Trustee Name:                               Eva Engelhart
Case Name:                      WEBSTER RESTAURANTS, LTD.                                                                                               Date Filed (f) or Converted (c):            11/18/2019 (c)
For the Period Ending:          8/3/2021                                                                                                                §341(a) Meeting Date:                       12/12/2019
                                                                                                                                                        Claims Bar Date:                            03/09/2020

                                   1                                          2                               3                                 4                        5                                           6

                         Asset Description                                  Petition/                  Estimated Net Value                   Property               Sales/Funds              Asset Fully Administered (FA)/
                          (Scheduled and                                  Unscheduled                 (Value Determined by                   Abandoned              Received by              Gross Value of Remaining Assets
                     Unscheduled (u) Property)                               Value                           Trustee,                  OA =§ 554(a) abandon.         the Estate
                                                                                                     Less Liens, Exemptions,
                                                                                                        and Other Costs)

 Ref. #
1       Improvements-20237 Gulf Fwy, Webster Owner                          $4,000,000.00                           $2,500,000.00                                      $428,000.00                                             FA
Asset Notes:       Also sold per Order 8/7/20, Doc # 178
2      Land leased to Debtor-20237 Gulf Fwy                                       Unknown                             $489,718.00                                             $0.00                                            FA
       Possessory lien
Asset Notes:     Also sold per Order 8/7/20, Doc # 178
3       Icon Bank Checking Account                                                  $10.00                                 $10.00                                             $0.00                                            FA
Asset Notes:       negligible
4      Claims against Icon, Webster Fin., D.                                      Unknown                                      $0.00                                          $0.00                                            FA
       Guggenheim & D. Smith Regarding Potential
       Foreclosure
Asset Notes:    Also sold per Order 8/7/20, Doc # 178
5       Premises Lease with Webster Etc, L.L.C.                     (u)              $0.00                                      N/A                                    $212,000.00                                             FA
Asset Notes:       Also sold per Order 8/7/20, Doc # 178


TOTALS (Excluding unknown value)                                                                                                                                                                  Gross Value of Remaining Assets
                                                                            $4,000,010.00                          $2,989,728.00                                       $640,000.00                                        $0.00




     Major Activities affecting case closing:
       completing tax work prior to the TFR
       Assets sold/settled; tax work in progress.
       Motion to Auction pending
       Evaluating case for settlement or auction.


 Initial Projected Date Of Final Report (TFR):             12/31/2021                        Current Projected Date Of Final Report (TFR):          12/31/2021               /s/ EVA ENGELHART
                                                                                                                                                                             EVA ENGELHART
                                                      Case 17-32793 Document 227 FORM
                                                                                 Filed in2TXSB on 08/11/21 Page 7 of 10                                          Page No: 1                  Exhibit 9
                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          17-32793-H1-7                                                                                Trustee Name:                           Eva Engelhart
 Case Name:                        WEBSTER RESTAURANTS, LTD.                                                                    Bank Name:                              Independent Bank
Primary Taxpayer ID #:             **-***2096                                                                                   Checking Acct #:                        ******2793
Co-Debtor Taxpayer ID #:                                                                                                        Account Title:
For Period Beginning:              5/1/2017                                                                                     Blanket bond (per case limit):          $77,534,000.00
For Period Ending:                 8/3/2021                                                                                     Separate bond (if applicable):

       1                2                                     3                                       4                                                5                      6                      7

   Transaction       Check /                            Paid to/            Description of Transaction                           Uniform            Deposit           Disbursement                Balance
      Date            Ref. #                         Received From                                                              Tran Code             $                    $


12/16/2019            (5)      Webster Etc, L.L.C.                   Rent payment                                                1222-000           $26,500.00                                       $26,500.00
01/10/2020            (5)      Webster Etc, L.L.C.                   Rent payment                                                1222-000           $26,500.00                                       $53,000.00
02/14/2020            (5)      Webster Etc, L.L.C.                   Rent Payment                                                1222-000           $26,500.00                                       $79,500.00
03/13/2020            (5)      Webster Etc, L.L.C.                   Rent Payment                                                1222-000           $26,500.00                                      $106,000.00
04/15/2020           3001      Hope Kobayashi Trust                  Order Entered 4/6/20, Doc # 162                             2410-000                                      $45,784.00            $60,216.00
04/22/2020            (5)      Webster Etc, L.L.C.                   Rent Payment                                                1222-000           $26,500.00                                       $86,716.00
05/05/2020            (5)      Webster Etc, L.L.C.                   Rent Payment                                                1222-000           $26,500.00                                      $113,216.00
06/04/2020            (5)      Webster Etc, L.L.C.                   Rent Payment                                                1222-000           $26,500.00                                      $139,716.00
07/07/2020           3002      Hope Kobayashi Trust                  Order Entered 4/6/20, Doc # 162                             2410-000                                      $45,784.00            $93,932.00
07/08/2020            (5)      Webster Etc, L.L.C.                   Rent Payment                                                1222-000           $26,500.00                                      $120,432.00
08/24/2020                     David M Smith & Associates Iolta      Order Entered 8/7/20, Doc # 178                                *              $396,000.00                                      $516,432.00
                                                                     Also includes assets 2,4 and 5.
                      {1}                                            Gross sale proceeds                         $428,000.00     1110-000                                                           $516,432.00
                                                                     Credit to buyer for tax consideration per   $(32,000.00)    2820-000                                                           $516,432.00
                                                                     Order Entered 08-07-20, Doc #178
08/26/2020           3003      Harris County Taxing Authority        Order Entered 8/7/20, Doc # 178                             4700-000                                     $137,891.64           $378,540.36
08/26/2020           3004      Clear Creek ISD                       Order Entered 8/7/20, Doc # 178                             4700-000                                     $169,867.92           $208,672.44
08/26/2020           3005      Royal American Services, Inc.         Order Entered 8/7/20, Doc # 178                             4120-000                                      $24,500.00           $184,172.44
08/26/2020           3006      Mustang Security & Inv., Inc.         Order Entered 8/7/20, Doc # 178                             4120-000                                      $26,736.00           $157,436.44
08/26/2020           3007      Hope Kobayashi Trust                  Order Entered 8/7/20, Doc # 178                             2410-000                                      $33,819.00           $123,617.44
08/27/2020           3006      STOP PAYMENT: Mustang Security &      Reissued. Order Entered 8/7/20, Doc # 178                   4120-004                                     ($26,736.00)          $150,353.44
                               Inv., Inc.
08/28/2020           3008      Mustang Security & Inv., Inc.         Order Entered 8/7/20, Doc # 178                             4120-000                                      $26,736.00           $123,617.44
08/31/2020                     Independent Bank                      Account Analysis Charge                                     2600-000                                         $319.99           $123,297.45
09/30/2020                     Independent Bank                      Account Analysis Charge                                     2600-000                                         $353.48           $122,943.97
10/05/2020           3009      International Sureties, Ltd.          Bond Premium: 10/1/20-10/1/21                               2300-000                                          $67.00           $122,876.97
                                                                     Bond # 016071777
10/30/2020                     Independent Bank                      Account Analysis Charge                                     2600-000                                         $189.97           $122,687.00


                                                                                                                                SUBTOTALS          $608,000.00            $485,313.00
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                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          17-32793-H1-7                                                             Trustee Name:                           Eva Engelhart
 Case Name:                        WEBSTER RESTAURANTS, LTD.                                                 Bank Name:                              Independent Bank
Primary Taxpayer ID #:             **-***2096                                                                Checking Acct #:                        ******2793
Co-Debtor Taxpayer ID #:                                                                                     Account Title:
For Period Beginning:              5/1/2017                                                                  Blanket bond (per case limit):          $77,534,000.00
For Period Ending:                 8/3/2021                                                                  Separate bond (if applicable):

       1                2                                 3                                        4                              5                        6                       7

   Transaction       Check /                          Paid to/             Description of Transaction         Uniform           Deposit            Disbursement                 Balance
      Date            Ref. #                       Received From                                             Tran Code            $                     $


11/16/2020           3010      Ross, Banks, May, Cron & Cavin, PC   Order Entered 11/16/20, Doc # 194         3110-000                                     $25,552.50              $97,134.50
                                                                    Attorney Fees
11/16/2020            3011     Ross, Banks, May, Cron & Cavin, PC   Order Entered 11/16/20, Doc # 194         3120-000                                          $457.38            $96,677.12
                                                                    Attorney Expenses
11/30/2020                     Independent Bank                     Account Analysis Charge                   2600-000                                          $161.30            $96,515.82
12/31/2020                     Independent Bank                     Account Analysis Charge                   2600-000                                          $140.74            $96,375.08
01/19/2021           3012      Texas Comptroller                    Order Entered 12/10/20, Doc # 197         2820-000                                         $5,353.00           $91,022.08
                                                                    Acct No. 32035448706
                                                                    Report Year 2021 Franchise Tax
01/29/2021                     Independent Bank                     Account Analysis Charge                   2600-000                                          $139.42            $90,882.66
02/26/2021                     Independent Bank                     Account Analysis Charge                   2600-000                                          $132.53            $90,750.13
03/31/2021                     Independent Bank                     Account Analysis Charge                   2600-000                                          $132.34            $90,617.79
04/09/2021           3013      William G. West, C.P.A.              Order Entered 4/7/21, Doc # 212           3310-000                                     $21,883.50              $68,734.29
                                                                    Accountant Fees
04/09/2021           3014      William G. West, C.P.A.              Order Entered 4/7/21, Doc # 212           3320-000                                          $149.45            $68,584.84
                                                                    Accountant Expenses
07/06/2021           3015      Eva Engelhart                        Order Entered 7/6/21, Doc # 223           2100-000                                     $35,250.00              $33,334.84
                                                                    Order Entered 7/6/21, Doc # 224
                                                                    Trustee Compensation
07/06/2021           3016      Eva Engelhart                        Order Entered 7/6/21, Doc # 223           2200-000                                          $452.89            $32,881.95
                                                                    Order Entered 7/6/21, Doc # 224
                                                                    Trustee Expenses
07/06/2021           3017      Internal Revenue Service             Order Entered 7/6/21, Doc # 223           5800-000                                         $1,554.71           $31,327.24
                                                                    Order Entered 7/6/21, Doc # 224
                                                                    Distribution on Claim #: 2
07/06/2021           3018      Internal Revenue Service             Order Entered 7/6/21, Doc # 223           7100-000                                         $7,942.50           $23,384.74
                                                                    Order Entered 7/6/21, Doc # 224
                                                                    Distribution on Claim #: 2




                                                                                                             SUBTOTALS                $0.00                $99,302.26
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                                                                           CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          17-32793-H1-7                                                                                         Trustee Name:                           Eva Engelhart
 Case Name:                        WEBSTER RESTAURANTS, LTD.                                                                             Bank Name:                              Independent Bank
Primary Taxpayer ID #:             **-***2096                                                                                            Checking Acct #:                        ******2793
Co-Debtor Taxpayer ID #:                                                                                                                 Account Title:
For Period Beginning:              5/1/2017                                                                                              Blanket bond (per case limit):          $77,534,000.00
For Period Ending:                 8/3/2021                                                                                              Separate bond (if applicable):

       1                2                                 3                                               4                                                    5                       6                       7

   Transaction       Check /                          Paid to/                    Description of Transaction                              Uniform           Deposit            Disbursement                 Balance
      Date            Ref. #                       Received From                                                                         Tran Code            $                     $


07/06/2021           3019      Doyle, Restrepo, Harvin & Robbins, L.L.P.   Order Entered 7/6/21, Doc # 223                                7100-000                                     $20,784.74                  $2,600.00
                                                                           Order Entered 7/6/21, Doc # 224
                                                                           Distribution on Claim #: 4
07/06/2021           3020      U.S. Trustee Payment Center                 Order Entered 7/6/21, Doc # 223                                2950-000                                         $2,600.00                  $0.00
                                                                           Order Entered 7/6/21, Doc # 224
                                                                           Distribution on Claim #: 12

                                                                                            TOTALS:                                                         $608,000.00            $608,000.00                        $0.00
                                                                                                Less: Bank transfers/CDs                                          $0.00                  $0.00
                                                                                            Subtotal                                                        $608,000.00            $608,000.00
                                                                                                Less: Payments to debtors                                         $0.00                  $0.00
                                                                                            Net                                                             $608,000.00            $608,000.00



                     For the period of 5/1/2017 to 8/3/2021                                                           For the entire history of the account between 12/16/2019 to 8/3/2021

                     Total Compensable Receipts:                           $640,000.00                                Total Compensable Receipts:                                 $640,000.00
                     Total Non-Compensable Receipts:                             $0.00                                Total Non-Compensable Receipts:                                   $0.00
                     Total Comp/Non Comp Receipts:                         $640,000.00                                Total Comp/Non Comp Receipts:                               $640,000.00
                     Total Internal/Transfer Receipts:                           $0.00                                Total Internal/Transfer Receipts:                                 $0.00


                     Total Compensable Disbursements:                      $640,000.00                                Total Compensable Disbursements:                           $640,000.00
                     Total Non-Compensable Disbursements:                        $0.00                                Total Non-Compensable Disbursements:                             $0.00
                     Total Comp/Non Comp Disbursements:                    $640,000.00                                Total Comp/Non Comp Disbursements:                         $640,000.00
                     Total Internal/Transfer Disbursements:                      $0.00                                Total Internal/Transfer Disbursements:                           $0.00
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                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         17-32793-H1-7                                                                               Trustee Name:                           Eva Engelhart
Case Name:                       WEBSTER RESTAURANTS, LTD.                                                                   Bank Name:                              Independent Bank
Primary Taxpayer ID #:           **-***2096                                                                                  Checking Acct #:                        ******2793
Co-Debtor Taxpayer ID #:                                                                                                     Account Title:
For Period Beginning:            5/1/2017                                                                                    Blanket bond (per case limit):          $77,534,000.00
For Period Ending:               8/3/2021                                                                                    Separate bond (if applicable):

      1                 2                                3                                       4                                                 5                       6                    7

  Transaction        Check /                         Paid to/            Description of Transaction                           Uniform           Deposit            Disbursement              Balance
     Date             Ref. #                      Received From                                                              Tran Code            $                     $




                                                                                                                                                                                NET            ACCOUNT
                                                                                   TOTAL - ALL ACCOUNTS                               NET DEPOSITS                         DISBURSE           BALANCES

                                                                                                                                              $608,000.00             $608,000.00                      $0.00




                     For the period of 5/1/2017 to 8/3/2021                                               For the entire history of the case between 11/18/2019 to 8/3/2021

                     Total Compensable Receipts:                  $640,000.00                             Total Compensable Receipts:                                 $640,000.00
                     Total Non-Compensable Receipts:                    $0.00                             Total Non-Compensable Receipts:                                   $0.00
                     Total Comp/Non Comp Receipts:                $640,000.00                             Total Comp/Non Comp Receipts:                               $640,000.00
                     Total Internal/Transfer Receipts:                  $0.00                             Total Internal/Transfer Receipts:                                 $0.00


                     Total Compensable Disbursements:             $640,000.00                             Total Compensable Disbursements:                            $640,000.00
                     Total Non-Compensable Disbursements:               $0.00                             Total Non-Compensable Disbursements:                              $0.00
                     Total Comp/Non Comp Disbursements:           $640,000.00                             Total Comp/Non Comp Disbursements:                          $640,000.00
                     Total Internal/Transfer Disbursements:             $0.00                             Total Internal/Transfer Disbursements:                            $0.00




                                                                                                                          /s/ EVA ENGELHART
                                                                                                                          EVA ENGELHART
